          Case 23-12693-SLM                       Doc 1       Filed 03/31/23 Entered 03/31/23 15:33:19                             Desc Main
                                                             Document      Page 1 of 47
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 District of New Jersey
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Steel-Brite Polishing Corp.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               22            2013371
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business
                                                  860 Townley Avenue
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                              Union                        NJ       07083
                                              ______________________________________________               Union
                                                                                                           _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                             Union
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
          Case 23-12693-SLM                Doc 1         Filed 03/31/23 Entered 03/31/23 15:33:19                              Desc Main
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Debtor
               Steel-Brite Polishing Corp.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                      
                                          ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          
                                          ✔ None of the above



                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             ___ ___ ___ ___

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          
                                          ✔ Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                 
                                                        ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                          ✔   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor
                Steel-Brite Polishing Corp.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor                                   NJ                                                     22-13883-SLM
                                                                                            05/12/2022 Case number _________________________
       within the last 8 years?           
                                          ✔ Yes.    District _______________________ When _______________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases           
                                          ✔ No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          
                                          ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        
                                          ✔ No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?
                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor
               Steel-Brite Polishing Corp.
              _______________________________________________________                            Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                   
                                         ✔ Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         
                                         ✔ 1-49                                1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                               5,001-10,000                               50,001-100,000
       creditors
                                          100-199                             10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         
                                                                              ✔ $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                   $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million
                                         ✔                                     $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                              petition.
       debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                             03/23/2023
                                              Executed on _________________
                                                          MM / DD / YYYY


                                          /s/Eliott Gindi
                                              _____________________________________________
                                                                                                           Eliott Gindi
                                                                                                           _______________________________________________
                                              Signature of authorized representative of debtor             Printed name

                                                    President
                                              Title _________________________________________




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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              Steel-Brite Polishing Corp.
Debtor        _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Eric S. Landau
                                            _____________________________________________            Date          03/31/2023
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                            Eric S. Landau
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Law  Office of Eric S. Landau
                                           _________________________________________________________________________________________________
                                           Firm name
                                            50 Fountain Plaza Suite 1400
                                           _________________________________________________________________________________________________
                                           Number     Street
                                           Buffalo,                                                           NJ        14202
                                           ____________________________________________________            ____________ ______________________________
                                           City                                                            State        ZIP Code

                                            718-440-6723
                                           ____________________________________
                                                                                                           ericslandau@gmail.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                           144122015
                                           ______________________________________________________ ____________
                                                                                                               NJ
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
             Case 23-12693-SLM                  Doc 1        Filed 03/31/23 Entered 03/31/23 15:33:19                                  Desc Main
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      Fill in this information to identify the case:

                  Steel-Brite Polishing Corp.
      Debtor name __________________________________________________________________
                                                                                  NJ
      United States Bankruptcy Court for the: ______________________ District of _________
                                                                              (State)
                                                                                                                                           Check if this is an
      Case number (If known):   _________________________
                                                                                                                                               amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code     email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                             contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional          unliquidated,   total claim amount and deduction for value of
                                                                             services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
      Ice Box LLC
1                                                                                                                                                        $75,000



2
  Lindabury McCormick                                                        Professional                                                                $50,000
  Eastabrook & Cooper                                                        services
  53 Cardinal Dr.
  Westfield, NJ 07090
3
  NJ Economic Dev. Auth.                                                                                                                                 $250,000
  36 West State St.
  Trenton, NJ 08625

     Patricia M. Bryan, P.G.                                                 Professional
4                                                                                                  Continge                                              $320,000
     17926 Dixie Highway, Ste B                                              services
     Homewood, IL 60430                                                                            nt


5




6




7




8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 1
             Case 23-12693-SLM                Doc 1      Filed 03/31/23 Entered 03/31/23 15:33:19                                   Desc Main
                                                        Document      Page 7 of 47

    Debtor       Steel-Brite Polishing Corp.
                 _______________________________________________________                       Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                         professional           unliquidated,   total claim amount and deduction for value of
                                                                         services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                   page 2
              Case 23-12693-SLM                                    Doc 1             Filed 03/31/23 Entered 03/31/23 15:33:19                                                                 Desc Main
                                                                                    Document      Page 8 of 47

 Fill in this information to identify the case:

 Debtor name _________________________________________________________________

 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                  (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                   Check if this is an
                                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                           12/15




Part 1:          Summary of Assets


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                  $ ________________
          Copy line 88 from Schedule A/B ......................................................................................................................................


     1b. Total personal property:                                                                                                                                                                      1,300,000.00
                                                                                                                                                                                                  $ ________________
          Copy line 91A from Schedule A/B ....................................................................................................................................

     1c. Total of all property:                                                                                                                                                                       1,300,000.00
                                                                                                                                                                                                  $ ________________
          Copy line 92 from Schedule A/B ......................................................................................................................................




Part 2:          Summary of Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..............................................
                                                                                                                                                                                                               0.00
                                                                                                                                                                                                  $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
          Copy the total claims from Part 1 from line 5a of Schedule E/F .....................................................................................
                                                                                                                                                                                                                0.00
                                                                                                                                                                                                  $ ________________


     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                              +          695,000.00
                                                                                                                                                                                                  $ ________________
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ..........................................................




4. Total liabilities ......................................................................................................................................................................
                                                                                                                                                                                                        695,000.00
                                                                                                                                                                                                  $ ________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                       Summary of Assets and Liabilities for Non-Individuals                                                                                     page 1
            Case 23-12693-SLM                         Doc 1    Filed 03/31/23 Entered 03/31/23 15:33:19                          Desc Main
                                                              Document      Page 9 of 47
  Fill in this information to identify the case:

               Steel-Brite Polishing Corp.
  Debtor name __________________________________________________________________

                                                                              NJ
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   
   ✔      No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                   Type of account              Last 4 digits of account number
   3.1. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                    $______________________
   4.2. _____________________________________________________________________________________________________                    $______________________

5. Total of Part 1                                                                                                                                 0.00
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   
   ✔      No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                  $______________________
   7.2._________________________________________________________________________________________________________                  $_______________________


  Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                               page 1
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Debtor         Steel-Brite Polishing Corp.                Document
               _______________________________________________________  Page 10 of Case
                                                                                    47 number (if known)_____________________________________
               Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                                    0.00
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?

    
    ✔ No. Go to Part 4.
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                                   0.00
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    ✔ No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:
   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:

   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                                   0.00
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
          Case 23-12693-SLM                   Doc 1        Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
Debtor          Steel-Brite Polishing Corp.               Document
                _______________________________________________________ Page 11 of Case
                                                                                    47 number (if known)_____________________________________
                Name




Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    ✔ No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last      Net book value of     Valuation method used     Current value of
                                                    physical inventory    debtor's interest     for current value         debtor’s interest
                                                                          (Where available)
19. Raw materials
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                       $______________________
                                                    MM / DD / YYYY
                                                                          $__________________   ______________________


23. Total of Part 5                                                                                                                        0.00
                                                                                                                         $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    ✔ No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                  Net book value of    Valuation method used     Current value of debtor’s
                                                                           debtor's interest    for current value         interest
                                                                           (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________          $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

   ______________________________________________________________          $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________          $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________          $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________          $________________     ____________________    $______________________


Official Form 206A/B                                       Schedule A/B: Assets  Real and Personal Property                          page 3
           Case 23-12693-SLM                   Doc 1       Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
Debtor          Steel-Brite Polishing Corp.               Document
               _______________________________________________________  Page 12 of Case
                                                                                    47 number (if known)_____________________________________
               Name




33. Total of Part 6.                                                                                                                          0.00
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    
    ✔ No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                                              0.00
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
          Case 23-12693-SLM                   Doc 1       Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
 Debtor         Steel-Brite  Polishing Corp.         Document
                _______________________________________________________Page 13 of Case
                                                                                   47 number (if known)_____________________________________
                Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    ✔ No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                                          0.00
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
          Case 23-12693-SLM                      Doc 1       Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
Debtor           Steel-Brite Polishing Corp.                Document
                _______________________________________________________   Page 14 of Case
                                                                                      47 number (if known)_____________________________________
                Name




Part 9:    Real property

54. Does the debtor own or lease any real property?
    
    ✔ No. Go to Part 10.
     Yes. Fill in the information below.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.

    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                             0.00
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
         No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
    
    ✔ No. Go to Part 11.
     Yes. Fill in the information below.
      General description                                                         Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________   ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________   ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                           0.00
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
           Case 23-12693-SLM                           Doc 1    Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
Debtor           Steel-Brite Polishing Corp.                   Document
                _______________________________________________________      Page 15 of Case
                                                                                         47 number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
        Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
         No. Go to Part 12.
    
    ✔     Yes. Fill in the information below.
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                        _______________     –   __________________________         =   $_____________________
    ______________________________________________________
                                                                        Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                              Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                              Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                              Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                      $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
     Causes of Action under 11 U.S.C. 547, 548, 550
    ______________________________________________________________                                                                              1,300,000.00
                                                                                                                                        $_______________________
    Nature of claim                    avoid transfer of property
                                      ___________________________________

    Amount requested                    1,300,000.00
                                      $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                      $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                       $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                         $_____________________
   ____________________________________________________________                                                                         $_____________________
78. Total of Part 11.
                                                                                                                                               1,300,000.00
                                                                                                                                        $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
    
    ✔    No
        Yes

Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                   page 7
            Case 23-12693-SLM                             Doc 1         Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
Debtor            Steel-Brite Polishing Corp.                          Document
                  _______________________________________________________            Page 16 of Case
                                                                                                 47 number (if known)_____________________________________
                  Name




Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.
                                                                                                                  0.00
                                                                                                       $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                                 0.00
                                                                                                       $_______________


82. Accounts receivable. Copy line 12, Part 3.
                                                                                                                   0.00
                                                                                                       $_______________


83. Investments. Copy line 17, Part 4.                                                                             0.00
                                                                                                       $_______________

84. Inventory. Copy line 23, Part 5.
                                                                                                                  0.00
                                                                                                       $_______________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                     0.00
                                                                                                       $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                                   0.00
                                                                                                       $_______________
    Copy line 43, Part 7.
                                                                                                                  0.00
                                                                                                       $_______________
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.

88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                                                                         0.00
                                                                                                                                             $________________

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                 0.00
                                                                                                       $_______________


90. All other assets. Copy line 78, Part 11.                                                      +      1,300,000.00
                                                                                                       $_______________


                                                                                                         1,300,000.00                                   0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................         1,300,000.00
                                                                                                                                                                 $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
            Case 23-12693-SLM                            Doc 1      Filed 03/31/23 Entered 03/31/23 15:33:19                                      Desc Main
                                                                   Document      Page 17 of 47
  Fill in this information to identify the case:

              Steel-Brite Polishing Corp.
  Debtor name __________________________________________________________________
                                                                             NJ
  United States Bankruptcy Court for the: ______________________ District of _________
                                                                                        (State)

  Case number (If known):      _________________________                                                                                               Check if this is an
                                                                                                                                                           amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
    
    ✔ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                 Amount of claim           Value of collateral
                                                                                                                                Do not deduct the value   that supports this
                                                                                                                                of collateral.            claim
2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________
                                                                ___________________________________________________ $__________________                    $_________________

    Creditor’s mailing address                                  ___________________________________________________

     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred          __________________          Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.
     No                                                           Contingent
     Yes. Specify each creditor, including this creditor,         Unliquidated
             and its relative priority.                            Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                             Describe debtor’s property that is subject to a lien
     __________________________________________                 ___________________________________________________ $__________________                    $_________________

    Creditor’s mailing address                                  ___________________________________________________
     ________________________________________________________   ___________________________________________________
     ________________________________________________________   Describe the lien
                                                                 __________________________________________________
    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                   No
                                                                   Yes

    Date debt was incurred          __________________          Is anyone else liable on this claim?
    Last 4 digits of account
                                                                   No
    number                   ___ ___ ___ ___
                                                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H).

    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                           Contingent
     Yes. Have you already specified the relative                 Unliquidated
             priority?                                             Disputed
            No. Specify each creditor, including this
                  creditor, and its relative priority.
                  _________________________________
                  _________________________________
            Yes. The relative priority of creditors is
                  specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                 $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of ___
               Case 23-12693-SLM                            Doc 1    Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
  Debtor            Steel-Brite Polishing Corp.                     Document
                    _______________________________________________________       Page 18 of Case
                                                                                              47 number (if known)_____________________________________
                    Name



                                                                                                                                 Column A                Column B
 Part 1:        Additional Page                                                                                                  Amount of claim         Value of collateral
                                                                                                                                 Do not deduct the value that supports this
                                                                                                                                 of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien

     __________________________________________                 ___________________________________________________
                                                                                                                                 $__________________     $_________________
                                                                ___________________________________________________
     Creditor’s mailing address
                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                    No
                                                                    Yes


    Date debt was incurred           __________________         Is anyone else liable on this claim?
    Last 4 digits of account
                                                                    No
    number                   ___ ___ ___ ___
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                            Contingent
     Yes. Have you already specified the relative                  Unliquidated
               priority?                                            Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____


2._ Creditor’s name                                             Describe debtor’s property that is subject to a lien


     __________________________________________
                                                                ___________________________________________________
                                                                                                                                 $__________________     $_________________
     Creditor’s mailing address                                 ___________________________________________________

                                                                ___________________________________________________
     ________________________________________________________

     ________________________________________________________   Describe the lien
                                                                 __________________________________________________

    Creditor’s email address, if known                          Is the creditor an insider or related party?
     _________________________________________
                                                                    No
                                                                    Yes

    Date debt was incurred           __________________         Is anyone else liable on this claim?

    Last 4 digits of account
                                                                    No
    number                   ___ ___ ___ ___
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).


    Do multiple creditors have an interest in the               As of the petition filing date, the claim is:
    same property?                                              Check all that apply.

     No                                                            Contingent
     Yes. Have you already specified the relative                  Unliquidated
               priority?                                            Disputed

              No. Specify each creditor, including this
                   creditor, and its relative priority.
                   _______________________________
                   _______________________________
                   _______________________________

              Yes. The relative priority of creditors is
                   specified on lines _____



  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page ___ of ___
            Case 23-12693-SLM                           Doc 1         Filed 03/31/23 Entered 03/31/23 15:33:19                                             Desc Main
                                                                     Document      Page 19 of 47
Debtor            Steel-Brite Polishing Corp.
                 _______________________________________________________                                                 Case number (if known)_____________________________________
                 Name



Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                                      On which line in Part 1     Last 4 digits of
         Name and address
                                                                                                                                      did you enter the           account number
                                                                                                                                      related creditor?           for this entity
    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________

    __________________________________________________________________________________________________________________

    ____________________________________________________________________________                                                     Line 2. __                   ___ ___ ___ ___
    ____________________________________________________________________________


Form 206D                                Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                               page ___ of ___
                 Case 23-12693-SLM                        Doc 1            Filed 03/31/23 Entered 03/31/23 15:33:19                               Desc Main
   Fill in this information to identify the case:                         Document      Page 20 of 47

   Debtor            Steel-Brite Polishing Corp.
                    __________________________________________________________________

   United States Bankruptcy Court for the: ______________________ District of __________
                                                                                              (State)
   Case number       ___________________________________________
    (If known)

                                                                                                                                                     Check if this is an
                                                                                                                                                       amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    
    ✔    No. Go to Part 2.
        Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                 Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________    $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________    $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
                               qqqqq
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________    $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                              Contingent
                                                                             Unliquidated
    ___________________________________________                              Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                            No
                                                                           Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 1 of ___
               Case 23-12693-SLM
                 Steel-Brite             Doc 1
                             Polishing Corp.                             Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
  Debtor            _______________________________________________________
                    Name                                                Document      Page 21 of Case
                                                                                                  47 number (if known)_____________________________________
 Part 1.       Additional Page


 Copy this page if more space is needed. Continue numbering the lines sequentially from the
 previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                              Total claim              Priority amount



2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
       ___________________________________________                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)


2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
                                                                               Contingent
                                                                            
        _________________________________________________________________
                                                                                Unliquidated
       ___________________________________________                             Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                                                                            $______________________   $_________________
                                                                            As of the petition filing date, the claim is:
                                                                            Check all that apply.
        _________________________________________________________________      Contingent
       ___________________________________________
                                                                               Unliquidated
                                                                               Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________
       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)

2._    Priority creditor’s name and mailing address
                                                                            As of the petition filing date, the claim is: $______________________     $_________________
                                                                            Check all that apply.
        _________________________________________________________________      Contingent
       ___________________________________________                             Unliquidated
                                                                               Disputed
       ___________________________________________
       Date or dates debt was incurred                                       Basis for the claim:
                                                                            __________________________________
       _________________________________

       Last 4 digits of account                                             Is the claim subject to offset?
       number      ___ ___ ___ ___                                           No
                                                                             Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (_____)




      Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __ of ___
           Case 23-12693-SLM Doc 1
             Steel-Brite Polishing Corp.
                                                           Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
  Debtor       _______________________________________________________
               Name                                       Document      Page 22 of Case
                                                                                    47 number (if known)_____________________________________
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                                                75,000.00
                                                                                                                           $________________________________
    Ice Box, LLC
    ____________________________________________________________
                                                                              Contingent
                                                                              Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                                                50,000.00
                                                                                                                           $________________________________
    Lindabury McCormick Eastabrook & Cooper
    ____________________________________________________________
                                                                              Contingent
    53 Cardinal Dr., Westfield, NJ 07090                                      Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                                                Prof. Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           ✔
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                                              250,000.00
                                                                                                                           $________________________________
    NJ Economic Dev. Authority
    ____________________________________________________________
                                                                              Contingent
    36 West State Street, Trenton, NJ 08625                                   Unliquidated
    ____________________________________________________________              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           ✔
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:                      320,000.00
                                                                                                                           $________________________________
    Patricia M. Bryan, P.G.
    ____________________________________________________________
                                                                           Check all that apply.
                                                                 
                                                                 ✔ Contingent
    17926 Dixie Highway, Ste. B, Homewood, IL 60430  Unliquidated
    ____________________________________________________________  Disputed

    ____________________________________________________________
                                                                                                Prof. Services
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred               10/21/2020
                                               ___________________         Is the claim subject to offset?
                                                                           ✔
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                              Contingent
    ____________________________________________________________
                                                                              Unliquidated
                                                                              Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                              No
    Last 4 digits of account number            ___ ___ ___ ___                Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __ of ___
           Case 23-12693-SLM                Doc 1       Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
  Debtor        Steel-Brite Polishing Corp.
               _______________________________________________________
               Name                                    Document      Page 23 of Case
                                                                                 47 number (if known)_____________________________________
Part 2:    Additional Page


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                       Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.


3.__ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                   Check all that apply.                            $________________________________
     ___________________________________________________________      Contingent
                                                                      Unliquidated
                                                                      Disputed
     ___________________________________________________________      Liquidated and neither contingent nor
     ___________________________________________________________
                                                                       disputed

                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                            $________________________________
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     ___________________________________________________________      Disputed

     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                            $________________________________
     ___________________________________________________________      Contingent
                                                                      Unliquidated
     ___________________________________________________________      Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes


3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                            $________________________________
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     ___________________________________________________________      Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes



3.__ Nonpriority creditor’s name and mailing address
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.                            $________________________________
     ___________________________________________________________
                                                                      Contingent
                                                                      Unliquidated
     ___________________________________________________________      Disputed
     ___________________________________________________________
                                                                    Basis for the claim: ________________________

     Date or dates debt was incurred         ___________________   Is the claim subject to offset?
                                                                      No
     Last 4 digits of account number         ___ ___ ___ ___          Yes




    Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page __ of ___
                 Case 23-12693-SLM Doc 1
                   Steel-Brite Polishing Corp.
                                                                           Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
     Debtor          _______________________________________________________
                     Name                                                 Document      Page 24 of Case
                                                                                                    47 number (if known)_____________________________________
Part 3:              List Others to Be Notified About Unsecured Claims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                                         On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
         ___________________________________________________________________________________________________
                                                                                                               Line _____

         _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.12.
                                                                                                               Line _____

                                                                                                               
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __ of ___
                Case 23-12693-SLM
                  Steel-Brite             Doc 1
                              Polishing Corp.                             Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
  Debtor             _______________________________________________________
                     Name                                                Document      Page 25 of Case
                                                                                                   47 number (if known)_____________________________________
 Part 3:        Additional Page for Others to Be Notified About Unsecured Claims


          Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                             related creditor (if any) listed?          account number,
                                                                                                                                                        if any
4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________

4.__
       ___________________________________________________________________________________________________
                                                                                                             Line _____

       _________________________________________________________________                                        Not listed. Explain ________________   ___ ___ ___ ___

       _________________________________________________________________                                         _________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                               page __ of ___
           Case 23-12693-SLM               Doc 1     Filed 03/31/23 Entered 03/31/23 15:33:19 Desc Main
 Debtor         Steel-Brite Polishing Corp.
               _______________________________________________________
               Name                                 Document      Page 26 of Case
                                                                              47 number (if known)_____________________________________
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                         Total of claim amounts



5a. Total claims from Part 1                                                                 5a.                                  0.00
                                                                                                         $_____________________________




5b. Total claims from Part 2                                                                 5b.    +                     695,000.00
                                                                                                         $_____________________________




5c. Total of Parts 1 and 2
                                                                                              5c.                         695,000.00
                                                                                                         $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                   page __ of ___
            Case 23-12693-SLM                   Doc 1      Filed 03/31/23 Entered 03/31/23 15:33:19                                  Desc Main
                                                          Document      Page 27 of 47
 Fill in this information to identify the case:

              Steel-Brite Polishing Corp.
 Debtor name __________________________________________________________________

 United States Bankruptcy Court for the:______________________ District of    NJ
                                                                              _______
                                                                              (State)
 Case number (If known):    _________________________                         11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
       
       ✔   No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease


         State what the contract or       ____________________________________             _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________


         State what the contract or       ____________________________________             _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________             _________________________________________________________
                                                                                           _________________________________________________________
         State the term remaining         ____________________________________
                                                                                           _________________________________________________________
         List the contract number of
         any government contract          ____________________________________             _________________________________________________________




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
           Case 23-12693-SLM                Doc 1    Filed 03/31/23 Entered 03/31/23 15:33:19                          Desc Main
                                                    Document      Page 28 of 47
Debtor         Steel-Brite Polishing Corp.
               _______________________________________________________                Case number (if known)_____________________________________
               Name




          Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

       List all contracts and unexpired leases                                 State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired lease


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________


         State what the contract or    ____________________________________     _________________________________________________________
 2._     lease is for and the nature
         of the debtor’s interest      ____________________________________     _________________________________________________________
                                                                                _________________________________________________________
         State the term remaining      ____________________________________
                                                                                _________________________________________________________
         List the contract number of
         any government contract       ____________________________________     _________________________________________________________



 Official Form 206G                      Schedule G: Executory Contracts and Unexpired Leases                                    page ___ of ___
            Case 23-12693-SLM                   Doc 1       Filed 03/31/23 Entered 03/31/23 15:33:19                                  Desc Main
                                                           Document      Page 29 of 47
 Fill in this information to identify the case:

              Steel-Brite Polishing Corp.
 Debtor name __________________________________________________________________

                                                                            NJ
 United States Bankruptcy Court for the:_______________________ District of ________
                                                                                (State)
 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       ✔
          No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
          Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1     _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.2
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.3
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.4
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.5
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.6
         _____________________        ________________________________________________________             _____________________              D
                                      Street                                                                                                  E/F
                                      ________________________________________________________                                                G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
            Case 23-12693-SLM              Doc 1     Filed 03/31/23 Entered 03/31/23 15:33:19                          Desc Main
                Steel-Brite Polishing Corp.
                                                    Document      Page 30 of 47
Debtor         _______________________________________________________                Case number (if known)_____________________________________
               Name




            Additional Page if Debtor Has More Codebtors


           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor

                                                                                                                             Check all schedules
            Name                  Mailing address                                            Name
                                                                                                                             that apply:

 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code


 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code


 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code


 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code


 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code

 2.__
          _____________________   ________________________________________________________    _____________________           D
                                  Street                                                                                      E/F
                                  ________________________________________________________                                    G

                                  ________________________________________________________
                                  City                     State           ZIP Code




 Official Form 206H                                    Schedule H: Codebtors                                                     page ___ of ___
          Case 23-12693-SLM                   Doc 1      Filed 03/31/23 Entered 03/31/23 15:33:19                               Desc Main
                                                        Document      Page 31 of 47
 Fill in this information to identify the case and this filing:


              Steel-Brite Polishing Corp.
 Debtor Name __________________________________________________________________

                                                                             NJ
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     03/23/2023
        Executed on ______________                          /s/ Eliott Gindi
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Eliott Gindi
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 President
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 23-12693-SLM                     Doc 1       Filed 03/31/23 Entered 03/31/23 15:33:19                               Desc Main
                                                           Document      Page 32 of 47

Fill in this information to identify the case:

             Steel-Brite Polishing Corp.
Debtor name __________________________________________________________________

United States Bankruptcy Court for the: ______________________
                                        District of New Jersey District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                      Check if this is an
                                                                                                                                        amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


   Part 1:        Income



   1. Gross revenue from business

      ✔
          None

              Identify the beginning and ending dates of the debtor’s fiscal year, which       Sources of revenue                   Gross revenue
              may be a calendar year                                                           Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

             From the beginning of the                                                             Operating a business
             fiscal year to filing date:     From ___________         to     Filing date           Other _______________________    $________________
                                                    MM / DD / YYYY


             For prior year:                 From ___________         to     ___________           Operating a business
                                                                                                                                     $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                   Other _______________________

             For the year before that:       From ___________         to     ___________           Operating a business
                                                                                                                                     $________________
                                                    MM / DD / YYYY            MM / DD / YYYY
                                                                                                   Other _______________________




   2. Non-business revenue
      Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
      from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      ✔
          None

                                                                                               Description of sources of revenue    Gross revenue from each
                                                                                                                                    source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

             From the beginning of the
                                                                                               ___________________________          $________________
             fiscal year to filing date: From ___________             to     Filing date
                                                    MM / DD / YYYY



             For prior year:                 From ___________         to     ___________
                                                    MM / DD / YYYY            MM / DD / YYYY   ___________________________          $________________




             For the year before that:       From ___________         to     ___________
                                                    MM / DD / YYYY            MM / DD / YYYY   ___________________________          $________________




 Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 1
                Case 23-12693-SLM                      Doc 1    Filed 03/31/23 Entered 03/31/23 15:33:19                                Desc Main
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Debtor              Steel-Brite Polishing Corp.
                   _______________________________________________________                         Case number (if known)_____________________________________
                   Name




   Part 2:          List Certain Transfers Made Before Filing for Bankruptcy

   3. Certain payments or transfers to creditors within 90 days before filing this case
         List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
         days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
         adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         
         ✔      None

                 Creditor’s name and address                         Dates         Total amount or value         Reasons for payment or transfer
                                                                                                                 Check all that apply
         3.1.

                 __________________________________________         ________       $_________________                 Secured debt
                 Creditor’s name
                                                                                                                      Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                          Suppliers or vendors
                 __________________________________________                                                           Services
                 __________________________________________
                 City                          State     ZIP Code
                                                                    ________                                          Other _______________________________
                   
         3.2.

                 __________________________________________         ________       $_________________                 Secured debt
                 Creditor’s name
                                                                                                                      Unsecured loan repayments
                 __________________________________________
                 Street                                             ________                                          Suppliers or vendors
                 __________________________________________                                                           Services
                 __________________________________________
                 City                          State     ZIP Code
                                                                    ________                                          Other _______________________________


   4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
         List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
         guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
         $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
         Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
         general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
         the debtor. 11 U.S.C. § 101(31).
         ✔
               None

                 Insider’s name and address                          Dates         Total amount or value        Reasons for payment or transfer
         4.1.

                 __________________________________________         _________     $__________________          ___________________________________________
                 Insider’s name
                 __________________________________________         _________                                  ___________________________________________
                 Street
                 __________________________________________         _________                                  ___________________________________________
                 __________________________________________
                 City                          State     ZIP Code


                 Relationship to debtor
                 __________________________________________


         4.2.

                 __________________________________________         _________     $__________________          ___________________________________________
                 Insider’s name
                 __________________________________________         _________                                  ___________________________________________
                 Street
                 __________________________________________         _________                                  ___________________________________________
                 __________________________________________
                 City                          State     ZIP Code



                 Relationship to debtor

                 __________________________________________



Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 2
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Debtor             Steel-Brite Polishing Corp.
                   _______________________________________________________                                 Case number (if known)_____________________________________
                   Name




   5. Repossessions, foreclosures, and returns
         List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
         sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
         ✔
               None
                Creditor’s name and address                           Description of the property                                   Date               Value of property
         5.1.

                __________________________________________            ___________________________________________                   ______________     $___________
                Creditor’s name
                __________________________________________            ___________________________________________
                Street
                __________________________________________            ___________________________________________
                __________________________________________
                City                          State      ZIP Code

         5.2.

                __________________________________________            ___________________________________________                   _______________      $___________
                Creditor’s name
                __________________________________________            ___________________________________________
                Street
                __________________________________________            ___________________________________________
                __________________________________________
                City                          State      ZIP Code


   6. Setoffs
         List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
         the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         ✔
               None
                 Creditor’s name and address                             Description of the action creditor took                    Date action was       Amount
                                                                                                                                    taken

                 __________________________________________            ___________________________________________                _______________      $___________
                 Creditor’s name
                 __________________________________________            ___________________________________________
                 Street
                 __________________________________________
                 __________________________________________            Last 4 digits of account number: XXXX– __ __ __ __
                 City                          State      ZIP Code


    Part 3:            Legal Actions or Assignments

   7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
         List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
         was involved in any capacity—within 1 year before filing this case.

         ✔
               None
                 Case title                                  Nature of case                          Court or agency’s name and address                 Status of case

         7.1.
                 _________________________________           ______________________________         __________________________________________             Pending
                                                                                                    Name
                                                                                                                                                           On appeal
                                                                                                    __________________________________________
                 Case number                                                                        Street                                                 Concluded
                                                                                                    __________________________________________
                 _________________________________                                                  __________________________________________
                                                                                                    City                  State             ZIP Code
                  

                 Case title                                                                           Court or agency’s name and address
                                                                                                                                                           Pending
         7.2.
                 _________________________________           ______________________________         __________________________________________             On appeal
                                                                                                    Name
                                                                                                    __________________________________________
                                                                                                                                                           Concluded
                 Case number
                                                                                                    Street
                                                                                                    __________________________________________
                 _________________________________
                                                                                                    __________________________________________
                                                                                                    City                          State     ZIP Code


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
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Debtor              Steel-Brite Polishing Corp.
                   _______________________________________________________                            Case number (if known)_____________________________________
                   Name




   8. Assignments and receivership
         List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
         hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
         ✔ None
         
                  Custodian’s name and address                       Description of the property                        Value

                 __________________________________________          ______________________________________             $_____________
                 Custodian’s name
                                                                      Case title                                        Court name and address
                 __________________________________________
                 Street
                                                                     ______________________________________           __________________________________________
                 __________________________________________                                                           Name
                 __________________________________________           Case number                                     __________________________________________
                 City                          State      ZIP Code                                                    Street
                                                                     ______________________________________           __________________________________________
                                                                      Date of order or assignment                     __________________________________________
                                                                                                                      City                 State               ZIP Code

                                                                     ______________________________________

   Part 4:             Certain Gifts and Charitable Contributions

   9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
         of the gifts to that recipient is less than $1,000
         ✔
               None
                 Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


         9.1.
                __________________________________________           ___________________________________________                 _________________   $__________
                Recipient’s name
                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State      ZIP Code


                  Recipient’s relationship to debtor
                  __________________________________________


                __________________________________________           ___________________________________________                 _________________   $__________
         9.2. Recipient’s name

                __________________________________________           ___________________________________________
                Street
                __________________________________________
                __________________________________________
                City                          State      ZIP Code

                  Recipient’s relationship to debtor
                  __________________________________________


   Part 5:             Certain Losses

   10. All losses from fire, theft, or other casualty within 1 year before filing this case.

         ✔
               None
                 Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
                 occurred                                            If you have received payments to cover the loss, for                            lost
                                                                     example, from insurance, government compensation, or
                                                                     tort liability, list the total received.
                                                                     List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                     Assets – Real and Personal Property).

                 ___________________________________________         ___________________________________________                 _________________   $__________
                 ___________________________________________


Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 4
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Debtor
               Steel-Brite Polishing Corp.
               _______________________________________________________                           Case number (if known)_____________________________________
                Name




   Part 6:       Certain Payments or Transfers

   11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
         the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
         seeking bankruptcy relief, or filing a bankruptcy case.

            None

              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value
               Leslie Wybiral, Esq.
              __________________________________________
     11.1.                                                        ___________________________________________                3/21/2023
                                                                                                                           ______________             200.00
                                                                                                                                                $_________
              Address
                                                                  ___________________________________________
               7406 21st Ave. 2F
              __________________________________________
              Street
              __________________________________________
               East Elmhurst          NY 11370
              __________________________________________
              City                        State      ZIP Code


              Email or website address
               lwybiral1@msn.com
              _________________________________

              Who made the payment, if not debtor?

               Eliot Gindi
              __________________________________________


              Who was paid or who received the transfer?          If not money, describe any property transferred          Dates               Total amount or
                                                                                                                                               value


     11.2.    __________________________________________          ___________________________________________
                                                                                                                           ______________       $_________
              Address                                             ___________________________________________
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                        State      ZIP Code

              Email or website address
              __________________________________________

              Who made the payment, if not debtor?

              __________________________________________


   12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
         a self-settled trust or similar device.
         Do not include transfers already listed on this statement.

         ✔
            None

              Name of trust or device                             Describe any property transferred                         Dates transfers     Total amount or
                                                                                                                            were made           value


              __________________________________________          ___________________________________________               ______________       $_________

              Trustee                                             ___________________________________________
              __________________________________________




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 5
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                Steel-Brite Polishing Corp.
Debtor          _______________________________________________________                             Case number (if known)_____________________________________
                Name




   13. Transfers not already listed on this statement
         List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
         within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
         Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

         ✔
            None

              Who received transfer?                                 Description of property transferred or payments received   Date transfer      Total amount or
                                                                     or debts paid in exchange                                  was made           value



     13.1.    __________________________________________             ___________________________________________                ________________    $_________

                                                                     ___________________________________________
              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________




              Who received transfer?
                                                                     ___________________________________________                ________________    $_________

     13.2.    __________________________________________             ___________________________________________

              Address
              __________________________________________
              Street
              __________________________________________
              __________________________________________
              City                         State      ZIP Code


              Relationship to debtor

              __________________________________________



   Part 7:       Previous Locations

   14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         ✔
            Does not apply
              Address                                                                                                Dates of occupancy


     14.1.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


     14.2.     _______________________________________________________________________                               From       ____________       To   ____________
              Street
              _______________________________________________________________________
              _______________________________________________________________________
              City                                               State         ZIP Code


Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 6
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                   Steel-Brite Polishing Corp.
Debtor           _______________________________________________________                              Case number (if known)_____________________________________
                 Name




   Part 8:            Health Care Bankruptcies

   15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          diagnosing or treating injury, deformity, or disease, or
          providing any surgical, psychiatric, drug treatment, or obstetric care?

         
         ✔   No. Go to Part 9.
            Yes. Fill in the information below.
               Facility name and address                          Nature of the business operation, including type of services the              If debtor provides meals
                                                                  debtor provides                                                               and housing, number of
                                                                                                                                                patients in debtor’s care

     15.1.     ________________________________________           ___________________________________________________________                   ____________________
               Facility name
                                                                  ____________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility     How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                                Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                                 Electronically
                                                                                                                                                Paper

               Facility name and address                          Nature of the business operation, including type of services the              If debtor provides meals
                                                                  debtor provides                                                               and housing, number of
                                                                                                                                                patients in debtor’s care

     15.2.     ________________________________________           ___________________________________________________________                   ____________________
               Facility name
                                                                  ___________________________________________________________
               ________________________________________
               Street                                             Location where patient records are maintained (if different from facility     How are records kept?
                                                                  address). If electronic, identify any service provider.
               ________________________________________
                                                                                                                                                Check all that apply:
                                                                  ____________________________________________________________
               ________________________________________
               City                     State      ZIP Code       ____________________________________________________________
                                                                                                                                                 Electronically
                                                                                                                                                Paper

   Part 9:            Personally Identifiable Information

   16. Does the debtor collect and retain personally identifiable information of customers?

         ✔
            No.
            Yes. State the nature of the information collected and retained. ___________________________________________________________________
                      Does the debtor have a privacy policy about that information?
                  
                         No
                         Yes
   17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
         pension or profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
         q   Yes. Does the debtor serve as plan administrator?
                         No. Go to Part 10.
                         Yes. Fill in below:
                           Name of plan                                                                             Employer identification number of the plan

                           _______________________________________________________________________                  EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                          Has the plan been terminated?
                              No
                              Yes



Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
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Debtor            Steel-Brite Polishing Corp.
                 _______________________________________________________                             Case number (if known)_____________________________________
                 Name




   Part 10:           Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

   18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
         moved, or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
         brokerage houses, cooperatives, associations, and other financial institutions.
         ✔
            None

               Financial institution name and address           Last 4 digits of account        Type of account             Date account was        Last balance
                                                                number                                                      closed, sold, moved,    before closing or
                                                                                                                            or transferred          transfer

     18.1.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

     18.2.     ______________________________________           XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
               Name
                                                                                                 Savings
               ______________________________________
               Street                                                                            Money market
               ______________________________________
                                                                                                 Brokerage
               ______________________________________
               City                  State        ZIP Code                                       Other______________

   19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

         
         ✔   None

                 Depository institution name and address        Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                          still have it?

               ______________________________________          __________________________________          __________________________________                 No
               Name
                                                               __________________________________          __________________________________
                                                                                                                                                              Yes
               ______________________________________
               Street                                          __________________________________          __________________________________             
               ______________________________________
               ______________________________________           Address                                                                                   
               City                  State        ZIP Code
                                                               ____________________________________
                                                               ____________________________________

  20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
         which the debtor does business.

      
      ✔      None

                 Facility name and address                      Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                          still have it?
                                                                                                                                                            No
               ______________________________________          __________________________________          __________________________________
               Name
                                                                                                                                                            Yes
               ______________________________________
                                                               __________________________________          __________________________________              
               Street                                          __________________________________          __________________________________
               ______________________________________
               ______________________________________            Address                                                                                   
               City                  State        ZIP Code
                                                                ________________________________
                                                                _________________________________



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Debtor            Steel-Brite Polishing Corp.
                  _______________________________________________________                             Case number (if known)_____________________________________
                  Name




   Part 11:          Property the Debtor Holds or Controls That the Debtor Does Not Own

   21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
         trust. Do not list leased or rented property.

         ✔
            None

              Owner’s name and address                              Location of the property                Description of the property                 Value

                                                                                                                                                        $_______
              ______________________________________                __________________________________      __________________________________
              Name
                                                                    __________________________________      __________________________________
              ______________________________________
              Street                                                __________________________________      __________________________________
              ______________________________________
              ______________________________________
              City                 State          ZIP Code




   Part 12:          Details About Environmental Information

   For the purpose of Part 12, the following definitions apply:
    Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
         regardless of the medium affected (air, land, water, or any other medium).
    Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
         formerly owned, operated, or utilized.
    Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
         or a similarly harmful substance.

   Report all notices, releases, and proceedings known, regardless of when they occurred.


   22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


         
         ✔   No
            Yes. Provide details below.
              Case title                                     Court or agency name and address              Nature of the case                       Status of case

              _________________________________
                                                             _____________________________________         __________________________________          Pending
              Case number                                    Name
                                                                                                           __________________________________
                                                                                                                                                       On appeal

              _________________________________
                                                             _____________________________________
                                                             Street
                                                                                                                                                       Concluded
                                                                                                           __________________________________
                                                             _____________________________________                                                  
                                                             _____________________________________
                                                             City                    State     ZIP Code




   23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
         environmental law?

         
         ✔   No
            Yes. Provide details below.

             Site name and address                           Governmental unit name and address            Environmental law, if known             Date of notice


              __________________________________             _____________________________________         __________________________________       __________
              Name                                           Name
                                                                                                           __________________________________
              __________________________________             _____________________________________
              Street                                         Street                                        __________________________________
              __________________________________             _____________________________________
              __________________________________             _____________________________________
              City                 State     ZIP Code        City                   State      ZIP Code




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Debtor            Steel-Brite Polishing Corp.
                  _______________________________________________________                        Case number (if known)_____________________________________
                  Name




   24. Has the debtor notified any governmental unit of any release of hazardous material?
         ✔
            No
            Yes. Provide details below.

             Site name and address                       Governmental unit name and address           Environmental law, if known                Date of notice


              __________________________________        ______________________________________        __________________________________           __________
              Name                                      Name
                                                                                                      __________________________________
              __________________________________        ______________________________________
              Street                                    Street                                        __________________________________
              __________________________________        ______________________________________
              __________________________________        ______________________________________
              City                 State    ZIP Code    City                 State        ZIP Code




   Part 13:            Details About the Debtor’s Business or Connections to Any Business


   25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
         Include this information even if already listed in the Schedules.
         ✔
            None


              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
     25.1.    __________________________________         _____________________________________________
              Name                                                                                             Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code




              Business name and address                  Describe the nature of the business                   Employer Identification number
     25.2.                                                                                                     Do not include Social Security number or ITIN.

              __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                                                                               Dates business existed
                                                         _____________________________________________
              __________________________________
              Street                                     _____________________________________________
              __________________________________                                                               From _______         To _______
              __________________________________
              City                 State    ZIP Code



              Business name and address                  Describe the nature of the business                   Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

     25.3.    __________________________________         _____________________________________________         EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
              Name
                                                         _____________________________________________         Dates business existed
              __________________________________
              Street                                     _____________________________________________
              __________________________________
              __________________________________                                                               From _______         To _______
              City                 State    ZIP Code




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Debtor               Steel-Brite Polishing Corp.
                     _______________________________________________________                          Case number (if known)_____________________________________
                     Name




   26. Books, records, and financial statements
         26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                     None
                 Name and address                                                                                   Dates of service

                                                                                                                    From _______       To _______
     26a.1.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code


                 Name and address                                                                                   Dates of service

                                                                                                                    From _______       To _______
     26a.2.      __________________________________________________________________________________
                 Name
                 __________________________________________________________________________________
                 Street
                 __________________________________________________________________________________
                 __________________________________________________________________________________
                 City                                                State                 ZIP Code



         26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
                statement within 2 years before filing this case.
                ✔
                     None

                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.1.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code


                        Name and address                                                                            Dates of service

                                                                                                                    From _______       To _______
           26b.2.       ______________________________________________________________________________
                        Name
                        ______________________________________________________________________________
                        Street
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code



         26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                ✔
                     None
                        Name and address                                                                            If any books of account and records are
                                                                                                                    unavailable, explain why


            26c.1.      ______________________________________________________________________________              _________________________________________
                        Name
                                                                                                                    _________________________________________
                        ______________________________________________________________________________
                        Street                                                                                      _________________________________________
                        ______________________________________________________________________________
                        ______________________________________________________________________________
                        City                                             State                 ZIP Code



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Debtor                Steel-Brite Polishing Corp.
                      _______________________________________________________                       Case number (if known)_____________________________________
                      Name




                         Name and address                                                                         If any books of account and records are
                                                                                                                  unavailable, explain why


             26c.2.      ______________________________________________________________________________           _________________________________________
                         Name
                                                                                                                  _________________________________________
                         ______________________________________________________________________________
                         Street                                                                                   _________________________________________
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code



         26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
              within 2 years before filing this case.

                ✔
                      None

                         Name and address


             26d.1.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code


                         Name and address


             26d.2.      ______________________________________________________________________________
                         Name
                         ______________________________________________________________________________
                         Street
                         ______________________________________________________________________________
                         ______________________________________________________________________________
                         City                                            State                   ZIP Code




   27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
    ✔
             No
            Yes. Give the details about the two most recent inventories.



                 Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                      inventory    other basis) of each inventory


                ______________________________________________________________________               _______      $___________________

                 Name and address of the person who has possession of inventory records


     27.1.       ______________________________________________________________________
                Name
                ______________________________________________________________________
                Street
                ______________________________________________________________________
                ______________________________________________________________________
                City                                                     State        ZIP Code




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Debtor            Steel-Brite Polishing Corp.
                  _______________________________________________________                        Case number (if known)_____________________________________
                  Name




              Name of the person who supervised the taking of the inventory                       Date of           The dollar amount and basis (cost, market, or
                                                                                                  inventory         other basis) of each inventory

              ______________________________________________________________________              _______       $___________________

              Name and address of the person who has possession of inventory records


     27.2.    ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State          ZIP Code


   28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
         people in control of the debtor at the time of the filing of this case.

              Name                                 Address                                               Position and nature of any             % of interest, if any
                                                                                                         interest
              Eliott Gindi
              ____________________________         244  5th Ave., NY, NY 10001
                                                   _____________________________________________         President  - Owner
                                                                                                         ____________________________                 100
                                                                                                                                                 _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

              ____________________________         _____________________________________________         ____________________________            _______________

   29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
         of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    
    ✔        No
           Yes. Identify below.

              Name                                 Address                                                Position and nature of          Period during which
                                                                                                          any interest                    position or interest was
                                                                                                                                          held
              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

              ____________________________         _____________________________________________          ______________________         From _____ To _____

   30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
         bonuses, loans, credits on loans, stock redemptions, and options exercised?
    ✔
            No
           Yes. Identify below.

              Name and address of recipient                                              Amount of money or                   Dates              Reason for
                                                                                         description and value of                                providing the value
                                                                                         property


     30.1.    ______________________________________________________________              _________________________           _____________       ____________
              Name
              ______________________________________________________________
              Street                                                                                                         _____________
              ______________________________________________________________
              ______________________________________________________________                                                 _____________
              City                                     State           ZIP Code

              Relationship to debtor                                                                                         _____________

              ______________________________________________________________                                                 _____________

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Debtor             Steel-Brite Polishing Corp.
                  _______________________________________________________                          Case number (if known)_____________________________________
                  Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

     30.2     ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                            State      ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



   31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
            No
            Yes. Identify below.

              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



   32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         ✔
            No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                              EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



   Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on         03/23/2023
                               _________________
                                MM / DD / YYYY



          /s/ Eliott Gindi
              ___________________________________________________________                               Eliott Gindi
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                  President
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         ✔
             No
             Yes




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                                      United States Bankruptcy Court
                                                    DISTRICT OF NEW JERSEY
                                        _______________ District Of _______________


In re        Steel-Brite Polishing Corp.

                                                                                                Case No. ___________________

Debtor                                                                                                  11
                                                                                                Chapter ____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                                    3,000.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                      1000
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                                        2000
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.   The source of the compensation paid to me was:

           ✔ Debtor                                  Other (specify)

3.   The source of compensation to be paid to me is:

           ✔ Debtor                                  Other (specify)

4.         ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
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     d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                      CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

            03/31/2023
           ______________________              /s/ Eric S. Landau
           Date                                     Signature of Attorney

                                                Law Office of Eric S. Landau
                                                    Name of law firm
